       Case 1:11-cr-00025-TWP-TAB                               Document 826                        Filed 08/18/16          Page 1 of 1 PageID #:
                                                                       2854
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                     Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                                     for the
                                                          Southern District
                                                        __________ District of
                                                                            ofIndiana
                                                                               __________

                    United States of America
                               v.                                                          )
                    Nicolas Andrade-Alcocer                                                )
                                                                                           )   Case No: 1:11CR00025-001
                                                                                           )   USM No: 09947-028
Date of Original Judgment:                              03/27/2012                         )
Date of Previous Amended Judgment:                                                         )   Pro Se
(Use Date of Last Amended Judgment if Any)                                                     Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Because of the amount of drugs for which Mr. Alcocer-Andrade was held accountable, Amendment 782 did not
    result in a lower the base offense level. Therefore, he is not eligible for a sentence reduction.




Except as otherwise provided, all provisions of the judgment dated                                                           shall remain in effect.
IT IS SO ORDERED.

Order Date:                 8/18/2016
                                                                                                                  Judge’s signature


Effective Date:                                                                        Honorable Tanya Walton Pratt, U.S. District Court Judge
                     (if different from order date)                                                             Printed name and title
                                                      A CERTIFIED TRUE COPY
                                                      Laura A. Briggs, Clerk
                                                      U.S. District Court
                                                      Southern District of Indiana

                                                      By
                                                                            Deputy Clerk
